Case 1:18-cv-25106-KMW Document 142 Entered on FLSD Docket 03/27/2020 Page 1 of 21




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                              CASE NO. 1:18-CV-25106-KMW

    UNITED AMERICAN CORP.,

               Plaintiff,

          v.

    BITMAIN INC., ROGER VER, BITMAIN
    TECHNOLOGIES LTD., JIHAN WU,
    PAYWARD VENTURES, INC. d/b/a
    KRAKEN, JESSE POWELL, SHAMMAH
    CHANCELLOR, and JASON COX,

               Defendants.



           DEFENDANTS BITMAIN TECHNOLOGIES LTD. AND JIHAN WU’S
                MOTION TO DISMISS THE AMENDED COMPLAINT
                        UNDER FED. R. CIV. P. 12(b)(2)
Case 1:18-cv-25106-KMW Document 142 Entered on FLSD Docket 03/27/2020 Page 2 of 21




                                                    TABLE OF CONTENTS

                                                                                                                                       Page

   INTRODUCTION .....................................................................................................................1
   LEGAL STANDARD ................................................................................................................2
   ARGUMENT .............................................................................................................................3
             A.        The Relevant Forum to Evaluate Jurisdictional Allegations Is Florida. ................3
             B.        The Court Lacks General Personal Jurisdiction Over Bitmain HK and Wu. .........6
                       1.         United does not allege sufficient facts to satisfy general personal
                                  jurisdiction under Florida’s long arm statute. ...........................................6
                       2.         Bitmain HK and Wu do not have sufficient contacts with the
                                  United States to satisfy due process for general personal
                                  jurisdiction. .............................................................................................7
             C.        The Court Lacks Specific Personal Jurisdiction Over Bitmain HK and Wu. ...... 10
                       1.         United does not allege sufficient facts to satisfy specific personal
                                  jurisdiction under Florida’s long arm statute. .........................................10
                       2.         Bitmain HK and Wu do not have minimum contacts with the
                                  United States to satisfy due process for specific personal
                                  jurisdiction. ...........................................................................................11
   CONCLUSION ........................................................................................................................14




                                                                       i
Case 1:18-cv-25106-KMW Document 142 Entered on FLSD Docket 03/27/2020 Page 3 of 21




                                                 TABLE OF AUTHORITIES

                                                                                                                                  Page

   CASES

   Aronson v. Celebrity Cruises, Inc.,
      30 F. Supp. 3d 1379 (S.D. Fla. 2014)..................................................................................... 2

   Asahi Metal Indus. Co., Ltd. v . Super. Ct. of Cal., Solano Cty.,
      480 U.S. 102 (1987) ............................................................................................................ 13

   Carmouche v. Tamborlee Mgmt., Inc.,
      789 F.3d 1201 (11th Cir. 2015).............................................................................................. 9

   Consol. Dev. Corp. v. Sherritt, Inc.,
      216 F.3d 1286 (11th Cir. 2000).................................................................................. 2, 10, 12

   Daimler AG v. Bauman,
      571 U.S. 117 (2014) .............................................................................................................. 9

   Daniel v. Am. Bd. of Emergency Med.,
      428 F.3d 408 (2d Cir. 2005) .................................................................................................. 5

   Delong Equip. Co. v. Wa. Mills Abrasive Co.,
      840 F.2d 843 (11th Cir. 1988) ............................................................................................... 5

   Doe v. Unocal Corp.,
      248 F.3d 915 (9th Cir. 2001) ................................................................................................. 9

   Enic, PLC v. F.F. S. & Co., Inc.,
      870 So. 2d 888 (Fla. 5th DCA 2004) ..................................................................................... 6

   Fraser v. Smith,
      594 F.3d 842 (11th Cir. 2010) ......................................................................................... 3, 13

   Gen. Cigar Holdings, Inc. v. Altadis, S.A.,
      205 F. Supp. 2d 1335 (S.D. Fla. 2002), aff’d,
      54 F. App’x 492 (11th Cir. 2002) .......................................................................................... 4

   Goodyear Dunlop Tires Operations, S.A. v. Brown,
      564 U.S. 915 (2011) .................................................................................................... 2, 3, 10



                                                                     ii
Case 1:18-cv-25106-KMW Document 142 Entered on FLSD Docket 03/27/2020 Page 4 of 21




   GTE New Media Servs. Inc. v. BellSouth Corp.,
     199 F.3d 1343 (D.C. Cir. 2000) ............................................................................................. 5

   In re Blue Cross Blue Shield Antitrust Litig.,
       26 F. Supp. 3d 1172 (N.D. Ala. 2014) ................................................................................... 5

   In re Takata Airbag Prods. Liab. Litig.,
       MDL No. 2599, 2019 WL 2570616 (S.D. Fla. June 20, 2019) ................................. 11, 12, 13

   Int’l Textile Grp., Inc. v. Interamericana Apparel Co., Inc.,
       No. 08-CIV-22859, 2009 WL 4899404 (S.D. Fla. Dec. 14, 2009)...................................... 7, 8

   Internet Sols. Corp. v. Marshall,
       557 F.3d 1293 (11th Cir. 2009).............................................................................................. 2

   KM Enters., Inc. v. Glob. Traffic Techs., Inc.,
     725 F.3d 718 (7th Cir. 2013) ................................................................................................. 4

   Leon v. Cont’l AG,
      301 F. Supp. 3d 1203 (S.D. Fla. 2017) ......................................................................... 2, 3, 10

   Louis Vuitton Malletier, S.A. v. Mosseri,
      736 F.3d 1339 (11th Cir. 2013)........................................................................................ 3, 13

   McCullough v. Royal Caribbean Cruises, Ltd.,
     268 F. Supp. 3d 1336 (S.D. Fla. 2017) ................................................................................... 8

   Melgarejo v. Pycsa Panama, S.A.,
      537 F. App’x 852 (11th Cir. 2013) ........................................................................................ 9

   Oldfield v. Pueblo De Bahia Lora, S.A.,
      558 F.3d 1210 (11th Cir. 2009)............................................................................................ 11

   Rush v. Savchuk,
      444 U.S. 320 (1980) .............................................................................................................. 8

   Schulman v. Inst. for Shipboard Educ.,
      624 F. App’x 1002 (11th Cir. 2015)....................................................................................... 8

   Schwartzberg v. Knobloch,
      98 So. 3d 173 (Fla. 2d DCA 2012) ...................................................................................... 10

   Silverman v. Bookzone, Inc.,
       No. 04-CIV-1772, 2005 WL 1902786 (N.D. Tex. Aug. 9, 2005) ........................................... 8
                                                                     iii
Case 1:18-cv-25106-KMW Document 142 Entered on FLSD Docket 03/27/2020 Page 5 of 21




   Snow v. DirecTV, Inc.,
      450 F.3d 1314 (11th Cir. 2006)...................................................................................... 6, 7, 8

   Unitedhealthcare of Fla., Inc. v. Am. Renal Assocs. Holdings, Inc.,
      No. 16-CIV-81180, 2017 WL 1832436 (S.D. Fla. May 8, 2017) .................................. 3, 6, 11

   Virgin Health Corp. v. Virgin Enters. Ltd.,
      393 F. App’x 623 (11th Cir. 2010) .................................................................................... 5, 6

   Waite v. All Acquisition Corp.,
      901 F.3d 1307 (11th Cir. 2018).............................................................................................. 9

   Williams v. Yamaha Motor Co. Ltd.,
      851 F.3d 1015 (9th Cir. 2017) ............................................................................................... 9

   STATUTES

   15 U.S.C. § 22............................................................................................................................. 4

   Fla. Stat. § 48.193 ..................................................................................................................... 10

   Fla. Stat. § 48.193(1)-(2) ............................................................................................................. 3

   Fla. Stat. § 48.193(2) ............................................................................................................... 6, 7




                                                                        iv
Case 1:18-cv-25106-KMW Document 142 Entered on FLSD Docket 03/27/2020 Page 6 of 21




           Pursuant to the Court’s briefing schedule order (ECF No. 141), Defendants Bitmain

   Technologies Ltd. (“Bitmain HK”) and Jihan Wu submit this Motion to Dismiss the Amended

   Complaint under Fed. R. Civ. P. (“Rule”) 12(b)(2), in addition to the Omnibus Motion to Dismiss

   the Amended Complaint that they are separately submitting with the other Defendants.

                                           INTRODUCTION

           The Amended Complaint should be dismissed with prejudice because United American

   Corp. (“United”) has failed to cure the pleading defects in its original complaint regarding personal

   jurisdiction.   United’s new jurisdictional allegations, most of which they included in their

   opposition to Bitmain HK and Wu’s motion to dismiss the original complaint, are insufficient to

   establish general or specific personal jurisdiction over Bitmain HK or Wu.

           As an initial matter, the relevant forum for jurisdictional contacts is Florida, not the United

   States, because United continues to plead venue under the general venue statute (28 U.S.C. § 1391),

   rather than under the Clayton Act, and United has not plead any alternate grounds for relying on

   nationwide contacts. Yet United has not alleged that Bitmain HK or Wu had any jurisdictional

   contacts with Florida. Nor could it because neither Bitmain HK nor Wu has any ties to Florida.

   Thus, the Court cannot exercise general or specific personal jurisdiction over them.

           Even if the relevant forum were the United States, however, the Amended Complaint still

   does not sufficiently allege personal jurisdiction over Bitmain HK or Wu. The only jurisdictional

   allegations against Wu – that he promoted Bitmain products in the United States and that he speaks

   publicly in the United States about blockchain – are insufficient to establish personal jurisdiction.

   Similarly, the alleged nationwide contacts of Bitmain HK are inadequate and wrong. United’s

   allegations about a lawsuit Bitmain HK filed in Washington and a possible initial public offering

   in the United States do not establish general or specific jurisdiction over Bitmain HK under

   established case law. And United’s allegations about leasing office space in California, investing
                                                  1
Case 1:18-cv-25106-KMW Document 142 Entered on FLSD Docket 03/27/2020 Page 7 of 21




   in a Texas data center, operating a repair facility, and selling ASIC devices do not pertain to

   Bitmain HK. Nor are any of the alleged activities connected to the antitrust claims United asserts.

          In the end, Bitmain HK and Wu do not have sufficient ties to the Florida or the United

   States for this Court to exercise personal jurisdiction over them in this matter. United has failed

   to adequately allege that personal jurisdiction can be established consistent with the Florida long-

   arm statute or the due process requirements of the United States Constitution. Accordingly, the

   Court should dismiss the Amended Complaint with prejudice as to Bitmain HK and Wu.

                                          LEGAL STANDARD

          When a defendant moves under Rule 12(b)(2) to dismiss a complaint for lack of personal

   jurisdiction, the plaintiff has the burden of demonstrating personal jurisdiction over the defendant.

   Leon v. Cont’l AG, 301 F. Supp. 3d 1203, 1214 (S.D. Fla. 2017) (J. Williams). Initially, the

   plaintiff must make a prima facie showing that personal jurisdiction exists. Id. That showing

   cannot be met using conclusory jurisdictional allegations. Aronson v. Celebrity Cruises, Inc., 30

   F. Supp. 3d 1379, 1385 (S.D. Fla. 2014); Leon, 301 F. Supp. 3d at 1215.

          For purposes of a Rule 12(b)(2) motion, the Court may consider information outside the

   pleadings. See, e.g., Aronson, 30 F. Supp. 3d at 1385. Thus, if a plaintiff meets its initial burden,

   a defendant may raise “through affidavits, documents or testimony, a meritorious challenge to

   personal jurisdiction.” Internet Sols. Corp. v. Marshall, 557 F.3d 1293, 1295 (11th Cir. 2009)

   (citation omitted). If the defendant does so, “the burden shifts to the plaintiff to prove jurisdiction

   by affidavits, testimony or documents.” Id. (citation omitted).

          A court may only exercise personal jurisdiction over a defendant consistent with due

   process under the United States Constitution. Goodyear Dunlop Tires Operations, S.A. v. Brown,

   564 U.S. 915, 923 (2011). “Considerations of due process require that a non-resident defendant

   have certain minimum contacts with the forum.” Consol. Dev. Corp. v. Sherritt, Inc., 216 F.3d
                                                2
Case 1:18-cv-25106-KMW Document 142 Entered on FLSD Docket 03/27/2020 Page 8 of 21




   1286, 1291 (11th Cir. 2000). The exercise of general personal jurisdiction is consistent with due

   process when a defendant’s activities in the forum are “so ‘continuous and systematic’ as to render

   [the defendant] essentially at home in the forum . . .” Goodyear, 564 U.S. at 919 (citation omitted).

   The exercise of specific personal jurisdiction is consistent with due process when plaintiff’s claims

   “arise out of or relate to” the defendant’s contacts with the forum, the nonresident defendant

   “purposefully availed” himself of the privilege of conducting activities within the forum, thus

   invoking the benefit of the forum’s laws, and the exercise of personal jurisdiction comports with

   “traditional notions of fair play and substantial justice.” Louis Vuitton Malletier, S.A. v. Mosseri,

   736 F.3d 1339, 1355 (11th Cir. 2013).

          In addition to satisfying due process, the exercise of jurisdiction over Bitmain HK and Wu

   must satisfy Florida’s long-arm statute. Leon, 301 F. Supp. 3d at 1214. Florida’s long-arm statute

   allows the exercise of personal jurisdiction to the same extent permissible under the Constitution,

   Fraser v. Smith, 594 F.3d 842, 846 (11th Cir. 2010), and provides for both general and specific

   personal jurisdiction. Fla. Stat. § 48.193(1)-(2); Unitedhealthcare of Fla., Inc. v. Am. Renal Assocs.

   Holdings, Inc., No. 16-CIV-81180, 2017 WL 1832436, at *4 (S.D. Fla. May 8, 2017).

                                             ARGUMENT

          A.      The Relevant Forum to Evaluate Jurisdictional Allegations Is Florida.

          Florida is the appropriate forum to evaluate United’s jurisdictional allegations against

   Bitmain HK and Wu for three reasons: (1) United did not plead venue under the Clayton Act and

   therefore cannot take advantage of the Clayton Act’s provision that permits the exercise of

   jurisdiction based on a defendant’s nationwide contacts; (2) even if United had properly pled venue

   under the Clayton Act, the Clayton Act does not apply to individuals and therefore cannot be used




                                                     3
Case 1:18-cv-25106-KMW Document 142 Entered on FLSD Docket 03/27/2020 Page 9 of 21




   to establish personal jurisdiction over Wu; and (3) United did not plead any alternate basis that

   would allow the exercise of personal jurisdiction based on nationwide contacts. 1

            First, United alleges that this Court has subject-matter jurisdiction because this case arises

   under federal antitrust law. Am. Compl. ¶¶ 17, 101, 110. United does not allege, however, that

   venue is appropriate under Clayton Act § 12. Instead, it pleads venue under 28 U.S.C. § 1391.

   Am. Compl. ¶ 21. This is fatal to its attempt to use Bitmain HK’s or Wu’s nationwide contacts,

   as opposed to their Florida contacts, to establish personal jurisdiction.

            While Clayton Act § 12 can serve in certain cases as the basis for establishing personal

   jurisdiction based on a corporate defendant’s contacts with the United States, this is possible only

   when a plaintiff pleads venue under the Clayton Act. Section 12 states:

                     Any suit, action, or proceeding under the antitrust laws against a
                     corporation may be brought not only in the judicial district whereof
                     it is an inhabitant, but also in any district wherein it may be found
                     or transacts business; and all process in such cases may be served in
                     the district of which it is an inhabitant, or wherever it may be found.

   15 U.S.C. § 22. The first clause establishes venue in a District where a corporation is an

   “inhabitant,” is “found,” or “transacts business,” while the second clause provides for nationwide

   service of process and therefore nationwide personal jurisdiction. See KM Enters., Inc. v. Glob.

   Traffic Techs., Inc., 725 F.3d 718, 724 (7th Cir. 2013). 2 These clauses “must be read as a package

   deal.” Id. at 730. In other words, “[t]o avail oneself of the privilege of nationwide service of

   process, a plaintiff must satisfy the venue provisions of Section 12’s first clause” but “[i]f [a



             1
               United also may not rely on Bitmain HK and Wu’s alleged nationwide contacts to establish personal
   jurisdiction under the Clayton Act because United served them pursuant to the Hague Convention, not the Clayton
   Act. See Gen. Cigar Holdings, Inc. v. Altadis, S.A., 205 F. Supp. 2d 1335, 1340 (S.D. Fla. 2002) (holding Clayton
   Act § 12’s service of process provisions do not apply to corporations served outside the United States pursuant to the
   Hague Convention), aff’d, 54 F. App’x 492 (11th Cir. 2002).
            2
              United has not pled specific facts to establish, and in fact cannot establish, that either Bitmain HK or Wu
   is an inhabitant of, found in or transacts business in this District.
                                                              4
Case 1:18-cv-25106-KMW Document 142 Entered on FLSD Docket 03/27/2020 Page 10 of 21




    plaintiff] wishes to establish venue exclusively through Section 1391, she must establish personal

    jurisdiction some other way.” Id.; see also Daniel v. Am. Bd. of Emergency Med., 428 F.3d 408,

    425 (2d Cir. 2005); GTE New Media Servs. Inc. v. BellSouth Corp., 199 F.3d 1343, 1351 (D.C.

    Cir. 2000). See also In re Blue Cross Blue Shield Antitrust Litig., 26 F. Supp. 3d 1172, 1194 (N.D.

    Ala. 2014) (in the absence of Eleventh Circuit precedent, agreeing with the “the majority view,

    subscribed to by the Seventh, Second, and D.C. Circuits”). 3 Accordingly, United may not rely on

    Section 12’s provision for nationwide personal jurisdiction and must instead show that Bitmain

    HK and Wu are subject to personal jurisdiction in Florida.

             Second, even if United had pled venue under Section 12, it still could not rely on the

    Clayton Act to provide for nationwide personal jurisdiction over Wu because Section 12 applies

    to corporations, not to individuals. See Delong Equip. Co. v. Wa. Mills Abrasive Co., 840 F.2d

    843, 848 (11th Cir. 1988) (“The Clayton Act provision applies only to corporations, however, and

    there is no other appropriate federal service statute or order applicable to individual non-corporate

    defendants in antitrust litigation.”). Thus, the Court may not exercise personal jurisdiction over

    Wu unless United has adequately alleged that he has sufficient contacts with Florida, which it has

    failed to do.

             Third, it is well-established that a plaintiff has the burden to plead all relevant grounds for

    personal jurisdiction. Virgin Health Corp. v. Virgin Enters. Ltd., 393 F. App’x 623, 627 (11th Cir.


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               This integrated interpretation of Section 12 comports with the statue’s text, structure, and purpose. See
    GTE New Media Servs., 199 F.3d at 1351 (“[I]t seems quite unreasonable to presume that Congress would
    intentionally craft a two-pronged provision with a superfluous first clause, ostensibly link the two provisions with the
    ‘in such cases’ language, but nonetheless fail to indicate clearly anywhere that it intended the first clause to be
    disposable.”); KM Enterprises, Inc., 25 F.3d at 729 (“[A]llowing antitrust plaintiffs to mix and match Section 12’s
    service-of-process provision with Section 1391’s general venue provision renders the venue inquiry meaningless,
    since venue is satisfied in every federal judicial district under subsection (c)(2). This runs contrary to Congress’s
    apparent intent in passing Sections 12 and 1391 that there be some limits on venue, in antitrust cases specifically and
    in general.”); Daniel, 428 F.3d at 425 (Legislative history “does not support a conclusion that Congress enacted
    Section 12’s service of process provision with the intent that it operate independently from or reach beyond the
    section’s venue provision.”).
                                                               5
Case 1:18-cv-25106-KMW Document 142 Entered on FLSD Docket 03/27/2020 Page 11 of 21




    2010). United has elected to not rely on Rule 4(k)(2)’s so-called “federal long-arm statute” to

    assert personal jurisdiction over Bitmain HK or Wu. Because United has not alleged this ground

    as a basis for personal jurisdiction, the Court does not need to consider it. See id. at n.2 (deciding

    not to consider whether jurisdiction exists under Rule 4(k)(2) because the plaintiff did not plead

    it). Even if United had asserted personal jurisdiction under Rule 4(k)(2), this would not suffice

    because the exercise of jurisdiction over either defendant would not comport with due process.

           B.      The Court Lacks General Personal Jurisdiction Over Bitmain HK and Wu.

                   1.       United does not allege sufficient facts to satisfy general personal
                            jurisdiction under Florida’s long arm statute.

            The Court lacks general personal jurisdiction over Bitmain HK and Wu, both of whom are

    foreign defendants. Am. Compl. ¶¶ 9-10. A foreign defendant must be engaged in “substantial

    and not isolated” activity in Florida to satisfy the general personal jurisdiction provision of

    Florida’s long arm statute, see Fla. Stat. § 48.193(2). United has failed to allege that Bitmain HK

    or Wu meet this test.

           In its Amended Complaint, United does not offer any allegations specifically connecting

    either Bitmain HK or Wu to Florida. Instead, United’s theory of personal jurisdiction is based

    solely on its allegations of nationwide conduct. See Am. Compl. ¶¶ 19, 20, 59. Such allegations

    are “vague” (at best) as to Florida and thus “insufficient to establish a prima facie case of personal

    jurisdiction.” Snow v. DirecTV, Inc., 450 F.3d 1314, 1318 (11th Cir. 2006). See also Enic, PLC

    v. F.F. S. & Co., Inc., 870 So. 2d 888, 890 (Fla. 5th DCA 2004) (plaintiff “must first allege

    sufficient facts in the complaint in support of long arm jurisdiction”) (citation omitted).

           Moreover, Bitmain HK and Wu have shown by declaration that none of the factors that

    courts typically look for to exercise general jurisdiction based on Florida contacts exist. See

    Unitedhealthcare of Fla., 2017 WL 1832436, at *4 (citing Horizon Aggressive Growth L.P. v.

                                                      6
Case 1:18-cv-25106-KMW Document 142 Entered on FLSD Docket 03/27/2020 Page 12 of 21




    Rothstein-Kass, P.A., 421 F.3d 1162, 1167 (11th Cir. 2005) (listing factors). For instance, Bitmain

    HK does not have an agent for service of process in Florida, does not operate sales or service

    networks in Florida, does not have employees in Florida, and does not own or lease an office in

    Florida. Decl. of L. Liu (“Liu Declaration”), attached hereto as Exhibit A, at ¶¶ 4-6, 10. Nor

    does it pay taxes to Florida. Id. at ¶ 7. All decisions relating to the day-to-day operations of

    Bitmain HK are made in China. Id. at ¶ 3. Wu likewise has no contacts with Florida. He does not

    reside or work in Florida, has never conducted business in or paid taxes to Florida, and does not

    own property there. Decl. of J. Wu (“Wu Declaration”), attached hereto as Exhibit B, at ¶¶ 2-5.

    See Int’l Textile Grp., Inc. v. Interamericana Apparel Co., Inc., No. 08-CIV-22859, 2009 WL

    4899404, at *4 (S.D. Fla. Dec. 14, 2009) (finding no general jurisdiction over individual who made

    sporadic visits to Florida, used Florida addresses to receive mail, and maintained a Florida-based

    accountant). Thus, United has not satisfied the requirements of Florida’s long-arm statute. Fla.

    Stat. § 48.193(2).

                   2.      Bitmain HK and Wu do not have sufficient contacts with the United
                           States to satisfy due process for general personal jurisdiction.

           As discussed above, the relevant forum for measuring Bitmain HK’s and Wu’s

    jurisdictional contacts is Florida because United has not alleged a valid basis for the Court to

    examine their nationwide contacts. Even if United had plead such a basis, however, United still

    has failed to make a prima facie showing that either Bitmain HK or Wu is subject to general

    personal jurisdiction in the United States.

           First, United alleges generally that all “Defendants have engaged in Bitcoin Cash related

    activities in the United States and have purposefully availed themselves of the benefits and

    privileges of conducting such business in the United States.” Am. Compl. ¶ 18. Such an allegation

    is too vague and conclusory to establish a prima facie case of personal jurisdiction. Snow, 450

                                                    7
Case 1:18-cv-25106-KMW Document 142 Entered on FLSD Docket 03/27/2020 Page 13 of 21




    F.3d at 1318. Moreover, United may not meet its burden of establishing jurisdiction over each

    defendant by aggregating them together. See Rush v. Savchuk, 444 U.S. 320, 331-32 (1980)

    (“aggregating [multiple defendants’] forum contacts” was “plainly unconstitutional”). The Court

    should disregard this allegation in assessing personal jurisdiction.

             Second, United’s only grounds for claiming that general personal jurisdiction exists over

    Wu are (1) that he is a “frequent promoter in the United States of Bitmain products and services

    and of Bitcoin generally” and (2) that he has spoken at several summits in the United States “on

    topics regarding blockchain.” Am. Compl. ¶ 20. Neither is sufficient. Federal courts have

    repeatedly held that general jurisdiction exists over an individual in three scenarios: (1) the forum

    where the individual is domiciled; (2) when the individual consents to the forum’s jurisdiction;

    and (3) when the individual is present in the forum when served with process. McCullough v.

    Royal Caribbean Cruises, Ltd., 268 F. Supp. 3d 1336, 1349-50 (S.D. Fla. 2017) (citing cases).

    None of these scenarios is present here. Am. Compl. ¶ 10; Wu Declaration at ¶¶ 2-3. Moreover,

    the alleged grounds for general jurisdiction are too attenuated to support jurisdiction over him.

    Snow, 450 F.3d at 1318; Schulman v. Inst. for Shipboard Educ., 624 F. App’x 1002, 1005 (11th

    Cir. 2015) (attendance at a trade show insufficient for general personal jurisdiction); Silverman v.

    Bookzone, Inc., No. 04-CIV-1772, 2005 WL 1902786, at *5 (N.D. Tex. Aug. 9, 2005) (speaking

    at a conference insufficient for general personal jurisdiction). 4 Thus, the Court cannot exercise

    general jurisdiction over Wu based on his nationwide contacts.

             Third, United’s allegations about Bitmain HK are likewise inadequate to establish general

    personal jurisdiction consistent with due process. The Supreme Court has explained that “a


             4
                Wu’s alleged promotion of Bitmain products and services is irrelevant because, under the corporate shield
    doctrine, general jurisdiction cannot be established over a corporate officer sued in his individual capacity based on
    acts performed not for his own benefit but for the benefit of his employer. Int’l Textile Grp., Inc., 2009 WL 4899404,
    at *3 (citing Doe v. Thompson, 620 So.2d 1004, 1006 (Fla. 1993)).
                                                              8
Case 1:18-cv-25106-KMW Document 142 Entered on FLSD Docket 03/27/2020 Page 14 of 21




    corporation’s operations in a forum other than its formal place of incorporation or principal place

    of business” will be “so substantial and of such a nature as to render the corporation at home in

    that State” only in “exceptional” cases. See Daimler AG v. Bauman, 571 U.S. 117, 139 n.19 (2014).

    Accordingly, “[a] foreign corporation cannot be subject to general jurisdiction in a forum unless

    the corporation’s activities in the forum closely approximate the activities that ordinarily

    characterize a corporation’s place of incorporation or principal place of business.” Carmouche v.

    Tamborlee Mgmt., Inc., 789 F.3d 1201, 1205 (11th Cir. 2015). Bitmain HK does not conduct any

    such activities in the United States. Its executive officers are all based outside the United States,

    and all decisions as to its day-to-day operations are made in China. Lui Declaration at ¶ 3. See

    Waite v. All Acquisition Corp., 901 F.3d 1307, 1318 (11th Cir. 2018) (company was not “at home”

    in Florida where plaintiff did not allege the company’s “leadership was based in Florida or that the

    company otherwise directed its operations from Florida.”). 5

             United identifies three types of activities that purportedly support a finding of general

    jurisdiction against Bitmain HK, but they are inadequate and in some cases demonstrably wrong.

    United’s allegation that Bitmain HK has filed a lawsuit in Washington (Am. Compl. ¶ 19) is

    insufficient to support general jurisdiction as a matter of law. Melgarejo v. Pycsa Panama, S.A.,

    537 F. App’x 852, 862 (11th Cir. 2013) (citing Gibbons v. Brown, 716 So. 2d 868, 870 (Fla. 1st

    DCA 1998)). Likewise, United’s speculation that Bitmain HK has planned an Initial Public

    Offering on a United States exchange (Am. Compl. ¶ 19) does not support general jurisdiction.

    See Doe v. Unocal Corp., 248 F.3d 915, 922 (9th Cir. 2001), abrogated on other grounds by



             5
                As further evidence that Bitmain HK is not “at home” in the United States, Bitmain HK does not operate
    sales or service networks in the United States, does not have employees in the United States, has never been authorized
    to do business in the United States, does not pay taxes to the United States, does not have an agent for service of
    process in the United States, does market toward the United States, and has never had any employees, offices, or
    property in the United States. Liu Declaration at ¶¶ 2-13.
                                                              9
Case 1:18-cv-25106-KMW Document 142 Entered on FLSD Docket 03/27/2020 Page 15 of 21




    Williams v. Yamaha Motor Co. Ltd., 851 F.3d 1015 (9th Cir. 2017). Finally, United’s allegations

    about Bitmain HK’s purported business operations in the United States are wrong. Contrary to

    United’s allegations, Bitmain HK does not lease office space in California (Am. Compl. ¶ 19), has

    not made an investment in a blockchain data center in Texas (id.), has not marketed products or

    hosted events in the United States (id. ¶ 59), and does not operate repair centers (id.). These

    activities are all performed by either other Bitmain entities or, in the case of the repair centers, a

    third party. See Liu Declaration at ¶¶ 12-15. Likewise, Bitmain HK has not sold ASIC mining

    devices to customers in the United States (Am. Compl. ¶ 19) since July 31, 2018, three months

    before the Bitcoin Cash hard fork. Liu Declaration at ¶ 11. These allegations are insufficient to

    support general jurisdiction over Bitmain HK. See Consol. Devel. Corp., 216 F.3d at 1293 (foreign

    parent cannot be subject to general jurisdiction based on subsidiary’s marketing to the forum). In

    sum, United’s allegations fall far short of showing that Bitmain HK is “essentially at home” in the

    United States. Goodyear, 564 U.S. at 919.

           C.      The Court Lacks Specific Personal Jurisdiction Over Bitmain HK and Wu.

                   1.      United does not allege sufficient facts to satisfy specific personal
                           jurisdiction under Florida’s long arm statute.

           Because the relevant forum is Florida, the Court can exercise specific personal jurisdiction

    over Bitmain HK or Wu only if United has sufficiently alleged that its claims “arise out of or [are]

    relate[d] to [defendants’] contacts with Florida” and those contacts “fall within one of nine

    statutorily enumerated categories” listed in Florida’s long-arm statute. See Fla. Stat. § 48.193;

    Leon, 301 F. Supp. 3d at 1214; Schwartzberg v. Knobloch, 98 So. 3d 173, 182 (Fla. 2d DCA 2012).

           United fails to invoke any of the nine categories of Florida’s long-arm statute in its

    Amended Complaint, much less allege facts to support them. Moreover, even if United had

    attempted to allege that its claims arise out of Bitmain HK’s or Wu’s contacts with Florida, the

                                                     10
Case 1:18-cv-25106-KMW Document 142 Entered on FLSD Docket 03/27/2020 Page 16 of 21




    Wu Declaration and Liu Declaration demonstrate that this case lacks any of factors that commonly

    lead courts to find the long-arm statute satisfied as to specific jurisdiction. See Unitedhealthcare

    of Fla., Inc., 2017 WL 1832436, at *4-5 (listing factors relevant to various provisions of the long-

    arm statute). Bitmain HK and Wu do not have licenses to do business in Florida, have not paid

    taxes to Florida, and do not have offices or property in Florida. Liu Declaration at ¶¶ 8-10; Wu

    Declaration at ¶¶ 3-5. Bitmain HK does market toward Florida residents. Liu Declaration at ¶ 13.

    Thus, United has failed to allege that its claim arises out of contacts by Bitmain HK or Wu with

    Florida under the long-arm statute, as required to assert personal jurisdiction in the relevant forum.

                    2.      Bitmain HK and Wu do not have minimum contacts with the United
                            States to satisfy due process for specific personal jurisdiction.

            Courts in the Eleventh Circuit use a three-part test to determine whether a court can

    exercise specific jurisdiction over a non-resident defendant consistent with due process: (1) the

    claim must be one that arises out of the defendant’s forum-related activities; (2) the defendant must

    have purposefully availed itself of the privilege of conducting activities within the forum State;

    and (3) the exercise of jurisdiction must comport with fair play and substantial justice. In re Takata

    Airbag Prods. Liab. Litig., MDL No. 2599, 2019 WL 2570616, at *28 (S.D. Fla. June 20, 2019)

    (citing Mosseri, 736 F.3d at 1355). Plaintiffs bear the burden of proving the first two prongs, and

    if they do, the burden shifts to defendants for the third prong. Id. Bitmain HK and Wu do not

    have sufficient minimum contacts with the United States to satisfy this test.

            To meet the first prong of the Takata test, a plaintiff must show that (i) that the alleged

    jurisdictional contacts are “but-for” causes of the plaintiff’s injury and (ii) the plaintiff’s injury is

    “a foreseeable consequence” of these contacts. See Oldfield v. Pueblo De Bahia Lora, S.A., 558

    F.3d 1210, 1222-23 (11th Cir. 2009). None of the contacts United alleges against Wu or Bitmain

    HK satisfies these requirements. As for Wu’s alleged contacts, United has not alleged facts to

                                                       11
Case 1:18-cv-25106-KMW Document 142 Entered on FLSD Docket 03/27/2020 Page 17 of 21




    show its injury would not have occurred but for Wu’s promotion of Bitmain products and services

    or his public speaking in the United States (Am. Compl. ¶ 20), the only two jurisdictional

    allegations against him. As for Bitmain HK’s alleged contacts, United has not alleged facts to

    show that its injury would not have occurred but for the filing of the lawsuit in Washington, the

    supposed registration of an IPO, or any of the business operations that United has incorrectly

    attributed to Bitmain HK (leasing office space, investing in a blockchain data center, operating

    repair facilities, or selling ASIC miners). Id. ¶¶ 19, 59. On the face of it, these activities have

    nothing to do with the alleged “scheme” to reallocate hash power from the Bitcoin Core network

    to the Bitcoin Cash network, and United fails to tie any of them to the antitrust claims. Id. ¶¶ 67-

    68.

           For instance, the investment in the Rockdale data center (id. ¶ 19), even if it had been made

    by Bitmain HK rather than Bitmain, Inc. (see Liu Declaration at ¶ 16), cannot plausibly be

    connected to the alleged “scheme” because the data center was not even opened until 2019, well

    after the hard fork occurred. Likewise, the sale of ASIC miners to customers in the United States

    is not alleged to be part of the effort to reallocate hash power from the Bitmain mining pools to

    mine Bitcoin Cash. Am. Compl. ¶¶ 67-68. In fact, United alleges that Bitmain HK used its own

    mining servers and that the servers were deployed from China where Bitmain HK allegedly had

    access to electricity subsidized by the Chinese government. Id. ¶ 67. In sum, United has failed to

    allege any nationwide contacts by Bitmain HK or Wu that are tied to the asserted claims, and it

    may not simply rely on “contacts with the forum that are unrelated to the cause of action being

    litigated” to establish specific jurisdiction. Consol. Dev. Corp., 216 F.3d at 1292.

           United also fails the second Takata prong because it has not shown that Bitmain HK or Wu

    purposefully availed themselves of the “privileges of doing business within the forum” or that they


                                                    12
Case 1:18-cv-25106-KMW Document 142 Entered on FLSD Docket 03/27/2020 Page 18 of 21




    have sufficient contacts such that they “should reasonably anticipate being haled into court in the

    forum.” Mosseri, 736 F.3d at 1357. United has asserted that all “Defendants have engaged in

    Bitcoin Cash related activities in the United States and have purposefully availed themselves of

    the benefits and privileges of conducting business in the United States.” Am. Compl. ¶ 18. But

    such group pleading and conclusory allegations are insufficient to establish personal jurisdiction

    over Bitmain HK or Wu. See, e.g., In re Takata, 2019 WL 2570616, at *28. Moreover, as shown

    by their declarations, Bitmain HK and Wu have not availed themselves of the privileges of doing

    business within the United States such that they could anticipate being sued here. See Liu

    Declaration at ¶¶ 2-11; Wu Declaration at ¶¶ 2-7.

           Finally, exercising specific personal jurisdiction over Bitmain HK and Wu would offend

    “traditional notions of fair play and substantial justice.” Mosseri, 736 F.3d at 1355. The Supreme

    Court has held that “[g]reat care and reserve should be exercised when extending our notions of

    personal jurisdiction into the international field.” Asahi Metal Indus. Co., Ltd. v . Super. Ct. of

    Cal., Solano Cty., 480 U.S. 102, 115 (1987) (citation omitted). “The unique burdens placed upon

    one who must defend oneself in a foreign legal system should have significant weight in assessing

    the reasonableness of stretching the long arm of personal jurisdiction over national borders.” Id.

    at 114. Here, United has not alleged any basis to support personal jurisdiction over Bitmain HK

    or Wu. Exercising personal jurisdiction over Bitmain HK and Wu and requiring them to defend

    themselves in a foreign court would place a substantial burden on them, Liu Declaration at ¶ 14

    and Wu Declaration at ¶ 8, and would deprive them of the protections guaranteed by the United

    States Constitution. Fraser, 594 F.3d at 850. Accordingly, Takata prong three favors the

    conclusion that specific personal jurisdiction cannot be exercised over Bitmain HK or Wu.




                                                    13
Case 1:18-cv-25106-KMW Document 142 Entered on FLSD Docket 03/27/2020 Page 19 of 21




                                            CONCLUSION

            The Amended Complaint should be dismissed because United failed to carry its burden of

    establishing either general or specific personal jurisdiction over Bitmain HK and Wu. In addition,

    the Court should dismiss the Amended Complaint with prejudice because United has not shown

    that it can cure the jurisdictional defects as to Bitmain HK and Wu.




                                                    14
Case 1:18-cv-25106-KMW Document 142 Entered on FLSD Docket 03/27/2020 Page 20 of 21




   Date: March 27, 2020              Respectfully submitted,


                                     /s/ Christopher R.J. Pace
                                     Christopher R.J. Pace
                                     Florida Bar No. 721166
                                     Email: crjpace@jonesday.com
                                     Marc A. Weinroth
                                     Florida Bar No. 42873
                                     Email: mweinroth@jonesday.com
                                     JONES DAY
                                     600 Brickell Avenue
                                     Suite 3300
                                     Miami, Florida 33131
                                     Telephone: (305) 714-9700
                                     Facsimile: (305) 714-9799

                                     Julie M. McEvoy (pro hac vice)
                                     Email: jmcevoy@jonesday.com
                                     JONES DAY
                                     51 Louisiana Ave., N.W.
                                     Washington, D.C. 20001
                                     Telephone: (202) 879-3939
                                     Facsimile: (202) 626-1700

                                     Mark W. Rasmussen (pro hac vice)
                                     Email: mrasmussen@jonesday.com
                                     Thomas D. York (pro hac vice)
                                     Email: tdyork@jonesday.com
                                     JONES DAY
                                     2727 N. Harwood Street
                                     Suite 500
                                     Dallas, TX 75201
                                     Telephone: (214) 220-3939
                                     Facsimile: (214) 969-5100

                                     Attorneys for Defendants Bitmain Technologies
                                     Ltd. and Jihan Wu




                                        15
Case 1:18-cv-25106-KMW Document 142 Entered on FLSD Docket 03/27/2020 Page 21 of 21




                                     CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on March 27, 2020, I electronically filed the foregoing with the

    Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to all

    counsel of record for the parties.



                                                /s/ Christopher R.J. Pace
                                                Christopher R.J. Pace




                                                   16
